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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF, CALIFORNIA
                                           .



                                                   12 OCT I 2 Prl t.: 09
UNITED STATES OF AMERICA,                    Cl:\~~
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                       Plaintiff,
               vs.                          ilJtmGMENT OF t)ffSMISSAL
MICHELLE VILLAVICENCIO (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

    an indictment has been filed in another case against the defendant and
    the Court has granted the motion of the Government for dismissal of
    this case, without prejudice; or

    the Court has dismissed the case for unnecessary delay; or

~   the Court has granted the motion of the Government for dismissal,
    without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

    a jury has been waived, and the Court has found the defendant not
    guilty; or

     the jury has returned its verdict, finding the defendant not guilty:

     of the offense(s) as charged in the Indictment/Information:

     8:1324 (a) (1) (A) (ii) and (v) (II)



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: OCTOBER 11, 2012                                         ~~
                                              Nita L. Stormes
                                              U.S. Magistrate Judge
